

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-69,107-09






EX PARTE DAVE LAMON ADAMS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 1039218-D IN THE 177TH  DISTRICT COURT
FROM HARRIS COUNTY 





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of the offense of
aggravated robbery and sentenced to imprisonment for thirty years. 

	On November 19, 2010, an order designating issues was signed by the trial court.  A hearing
has been set for June 14, 2012 to address the issues set out in the order designating issues.  We
remand this application to the 177th District Court of Harris County to allow the trial judge to
complete an evidentiary investigation and enter findings of fact and conclusions of law.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 


Filed: June 20, 2012

Do not publish 


	


